  Case 2:21-cv-00316 Document 289 Filed 04/21/22 Page 1 of 4 PageID #: 10251




                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                              CHARLESTON DIVISION

 B.P.J. by her next friend and mother, HEATHER
 JACKSON,
                             Plaintiff,
                        v.

 WEST VIRGINIA STATE BOARD OF                            Civil Action No. 2:21-cv-00316
 EDUCATION, HARRISON COUNTY BOARD
 OF      EDUCATION,          WEST      VIRGINIA          Hon. Joseph R. Goodwin
 SECONDARY            SCHOOL         ACTIVITIES
 COMMISSION, W. CLAYTON BURCH in his
 official capacity as State Superintendent, DORA
 STUTLER in her official capacity as Harrison
 County Superintendent, and THE STATE OF
 WEST VIRGINIA,

                             Defendants,

                       and

 LAINEY ARMISTEAD,

                             Defendant-Intervenor.

                 PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT

       Pursuant to Federal Rule of Civil Procedure 56(a), Plaintiff B.P.J., by her next friend and

mother, Heather Jackson, respectfully moves this Court for summary judgment on her Equal

Protection Clause claim and Title IX claim, seeking declaratory and permanent injunctive relief

and nominal damages in the amount of $1.00.

       Plaintiff’s motion seeks a judgment as to liability on her claim that Defendants’

enforcement of H.B. 3293, a law that categorically excludes Plaintiff B.P.J. and other women and

girls who are transgender from women’s and girls’ sports, is in violation of the Equal Protection

Clause of the Fourteenth Amendment and Title IX of the Education Amendment of 1972, 20

U.S.C. §1681, et seq. Each named Defendant is a proper subject of injunctive relief because each
  Case 2:21-cv-00316 Document 289 Filed 04/21/22 Page 2 of 4 PageID #: 10252




Defendant is obliged to enforce H.B. 3293 against B.P.J. Plaintiff respectfully requests that this

Court issue a declaratory judgment finding that Defendants’ enforcement of the categorical ban

violates Plaintiff’s rights under the Equal Protection Clause and Title IX; permanently enjoin

Defendants, their agents, employees, successors, and all others acting in concert with them, from

enforcing the law against her; and award her nominal damages in the amount of $1.00.




  Dated: April 21, 2022                            Respectfully submitted,
                                                   /s/ Loree Stark
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Case 2:21-cv-00316 Document 289 Filed 04/21/22 Page 3 of 4 PageID #: 10253




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  Case 2:21-cv-00316 Document 289 Filed 04/21/22 Page 4 of 4 PageID #: 10254




                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                               CHARLESTON DIVISION

 B.P.J. by her next friend and mother, HEATHER
 JACKSON,
                              Plaintiff,
                         v.                              Civil Action No. 2:21-cv-00316
 WEST VIRGINIA STATE BOARD OF
 EDUCATION, HARRISON COUNTY BOARD                        Hon. Joseph R. Goodwin
 OF EDUCATION, WEST VIRGINIA
 SECONDARY SCHOOL ACTIVITIES                             CERTIFICATE OF SERVICE
 COMMISSION, W. CLAYTON BURCH in his
 official capacity as State Superintendent, DORA
 STUTLER in her official capacity as Harrison
 County Superintendent, and THE STATE OF
 WEST VIRGINIA,
                              Defendants,
                         and
 LAINEY ARMISTEAD,
                              Defendant-
 Intervenor.

                                CERTIFICATE OF SERVICE

    I, Loree Stark, do hereby certify that on this 21st day of April, 2022, I electronically filed a
true and exact copy of Plaintiff’s Motion for Summary Judgment with the Clerk of Court and all
parties using the CM/ECF System.

                                                             /s/ Loree Stark
                                                             Loree Stark
                                                             West Virginia Bar No. 12936
